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                                         U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York
                                                    United States District Courthouse
                                                    300 Qua!ropas-Street
                                                    White Plains, New York 10601



                                                     October 14, 2020

BY EMAIL
The Honorable Kenneth M. Karas
United States District Judge
Southern District of New York
300 Quarropas Street
White Plains, New York 10601

       Re:     United States v. Vaughan, et al., 19 Cr. 526 (KMK)




                                                                                                      n
Dear Judge Karas:

        The Government and defense counsel write jointly to respectfully request that the Court
adjourn the Fatico hearing in the above-referenced matter currently scheduled for October 15,
2020 to December 10, 2020 at 10 a.m. The reason for this request is that the parties just learned
that records provided by Four Winds Hospital to defense counsel and to the Government were
incomplete. The parties submit that given the nature of the factual disputes at issue in the Fatico
hearing, the Court and the parties would benefit from a complete set of the defendant's mental
health records before proceeding with the hearing.


                                      Respectfully submitted,

                                      AUDREY STRAUSS
                                      Acting United States Attorney


                              By:       Isl
                                        Sam Adelsberg
                                        Assistant United States Attorney
                                        (212) 637-2494




cc:    Defense Counsel (by Email)
